Case 2:19-cv-00535-JES-NPM Document 25 Filed 10/16/19 Page 1 of 4 PageID 167



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

PERRY BECKER, individually and
on behalf of all others similarly
situated,

      Plaintiff,

v.                                         Case No:    2:19-cv-535-FtM-29NPM

PRO CUSTOM SOLAR LLC,

      Defendant.


                                         ORDER

      This matter comes before the Court on the Motion for Protective Order to

Temporarily Stay Discovery and/or to Bifurcate Individual and Class Discovery, filed on

September 23, 2019. (Doc. 19). Plaintiff Perry Becker filed a Response in Opposition

on October 4, 2019. (Doc. 22). For the following reasons, the Court denies the Motion.

      Plaintiff filed this class action against Defendant Pro Custom Solar LLC under the

Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. In the Amended Class

Action Complaint, Plaintiff alleges that Defendant utilized automatic telephone dialing

systems to place thousands of calls to the cellular telephones of Plaintiff and other class

members. (Doc. 13 at 2). Plaintiff seeks injunctive relief and statutory damages. (Id.).

      On September 16, 2019, Defendant filed a Motion to Dismiss Plaintiff’s First

Amended Complaint.      (Doc. 18).    In the Motion to Dismiss, Defendant argues that

Plaintiff failed to state a claim under the TCPA by failing to plead facts that Defendant

initiated the subject calls, the caller was acting as Defendant’s agent, and the calls were

made via an automatic telephone dialing system. (Id. at 5-13). Additionally, Defendant
Case 2:19-cv-00535-JES-NPM Document 25 Filed 10/16/19 Page 2 of 4 PageID 168



argues that Count II – a violation of the TCPA by soliciting Plaintiff and class members

who are on the do-not-call registry – should be dismissed because Plaintiff failed to plead

facts showing he received telephone solicitations; Plaintiff appears to have invited the

calls; and, Plaintiff fails to state a claim that the calls were made to a residential landline.

(Id. at 13-17).

       Here, Defendant requests that the Court temporarily stay all discovery until its

pending motion to dismiss is decided. (Doc. 19 at 1). Defendant argues that a ruling

on the pending motion to dismiss may resolve the entire case and, if so, then a stay would

obviate the need for costly discovery. (Id. at 2). Alternatively, Defendant requests that

the Court bifurcate class and individual discovery and only permit discovery related to the

individual Plaintiff to proceed until the motion to dismiss is decided. (Id. at 4-5).

       Plaintiff argues the motion to dismiss is unlikely to be successful and Defendant

did not assert any prejudice if discovery is permitted to continue. (Doc. 22 at 2). In

addition, Plaintiff argues that any bifurcation of discovery will only lead to multiple

discovery disputes.

       Courts have broad discretion to stay discovery and to manage the cases pending

before them. See Fed. R. Civ. P. 26(b)(1) (recognizing the scope of discovery may be

“limited by court order”); Clinton v. Jones, 520 U.S. 681, 706 (1997) (“The District Court

has broad discretion to stay proceedings as an incident to its power to control its own

docket.”).   “‘In deciding whether to stay discovery pending resolution of a pending

motion, the Court inevitably must balance the harm produced by a delay in discovery

against the possibility that the motion will be granted and entirely eliminate the need for

such discovery.’” Centennial Bank v. ServisFirst Bank Inc., No. 8:16-CV-88-T-36JSS,




                                             -2-
Case 2:19-cv-00535-JES-NPM Document 25 Filed 10/16/19 Page 3 of 4 PageID 169



2016 WL 7423139, *1 (M.D. Fla. Mar. 23, 2016) (quoting Feldman v. Flood, 176 F.R.D.

651, 652 (M.D. Fla. 1997)).

        “A motion to stay discovery pending a ruling on a dispositive motion is generally

disfavored, ‘because when discovery is delayed or prolonged it can create case

management problems which impede the Court’s responsibility to expedite discovery and

cause unnecessary litigation expenses and problems.’” Oy Ajat Ltd. v. Genoray Co., No.

6:16-CV-869-ORL-37DCI, 2016 WL 8996940, *2 (M.D. Fla. Nov. 14, 2016) (citation

omitted). The moving party bears the burden of showing good cause for the stay. Id.

(citing Middle District Discovery (2015) at (I)(E)(4)). In making its decision, a court must

take a “preliminary peek” at the merits of the motion to dismiss to determine if it appears

“‘clearly meritorious and truly case dispositive.’” Id. (citation omitted).

       Here, the motion to dismiss merely asserts pleading deficiencies. Further, the

Court’s Case Management and Scheduling Order provides for a discovery deadline of

June 15, 2020, and scheduled this matter for the November 2, 2020 trial term.

       Weighing the harm to Plaintiff in delaying the case against the harm to Defendant

if some or all of the motion to dismiss is granted, the Court finds in its discretion that a

temporary stay and/or bifurcation of the individual and class discovery is not warranted at

this juncture. In addition, the Court finds no benefit to bifurcating individual and class

discovery during the pendency of the motion to dismiss and foresees only increased

discovery issues, requiring court intervention to determine whether the discovery is

directed to class or merits issues.




                                             -3-
Case 2:19-cv-00535-JES-NPM Document 25 Filed 10/16/19 Page 4 of 4 PageID 170



      Accordingly, it is hereby ORDERED:

      The Motion for Protective Order to Temporarily Stay Discovery (Doc. 19) and/or

Motion to Bifurcate Individual and Class Discovery (Doc. 19) is DENIED.

      DONE and ORDERED in Fort Myers, Florida on October 16, 2019.




Copies furnished to:

Counsel of Record
Unrepresented Parties




                                         -4-
